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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                          :
PRESIDENT, INC., et al.,                     : No. 4:20-CV-02078
     Plaintiffs                              :
                                             : (Judge Brann)
    v.                                       :
KATHY BOOCKVAR, et al.,                      :
    Defendants                               :


                              NOTICE OF APPEAL

      Notice is hereby given that Donald J. Trump for President, Inc., Lawrence

Roberts, and David John Henry, Plaintiffs in the above-named case, hereby appeal

to the United States Court of Appeals for the Third Circuit from the Order issued

by the Honorable Matthew W. Brann dated November 21, 2020 (Dkt. No. 203)

entering final judgment in favor of Defendants and against the Plaintiffs.



                                             Respectfully submitted:
Dated: November 22, 2020
                                             /s/ Rudolph William Giuliani
                                             Rudolph William Giuliani
                                             NY Supreme Court ID No. 1080498

                                             /s/Marc A. Scaringi
                                             Marc A. Scaringi
                                             marc@scaringilaw.com
                                             PA Supreme Court ID No. 88346

                                             Brian C. Caffrey

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                                 Counsel for Plaintiffs




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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                    :
PRESIDENT, INC., et al,                : CIVIL ACTION
                                       :
      Plaintiffs                       : No. 4:20-cv-02078
                                       :
      v.                               : Judge Brann
                                       :
KATHY BOOCKVAR, et al,                 :
                                       :
      Defendants                       :

                         CERTIFICATE OF SERVICE

      I, Deborah A. Black, Paralegal for Scaringi Law, do hereby certify that I

served a true and correct copy of Plaintiffs’ Notice of Appeal, in the above-

captioned action, upon all parties via CM/ECF.




Date: November 22, 2020                /s/ Deborah A. Black____________
                                       Deborah A. Black, Paralegal
                                       For Marc A. Scaringi, Esquire and
                                       Brian C. Caffrey, Esquire
